Case 2:13-CV-06215-ABC-.]C Document 1

KAZEROU`NI LAW GROUP, APC

 

 

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§;§ 14 UNITED sums ms'rluc'r comm1
§§§ 15 cL'N'rRAL ms'rm&;£i:m ALIFoRNIA
n _
§§° 16 sHEREEN NIKRAVAN, 6 2 1 5 YW;C DL
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MPLAINT mm DAMAGES
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m summon-111 1.1.€1§€§,111§1»811.,.,
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Defendant.
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PnAchcEs Ac'r
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IRTRODUCTIDN
1. The United States Congress has found abundant evidence ~of the use of
abusive, deceptive, and unfair debt collection practices by many debt
collectors, and has determined that abusive debt collection practices contribute
to th_e nmnbel: of personal bankruptcies,_to maritalinstability, to the loss of __
jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive debt
collection practices by debt collectors, to insure that those debt collectors who
reii'ain from using abusive debt collection practices are not competitiver
disadvantaged and to promote consistent State action to protect consumersi
against debt collection abuses

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§§14 cnaowingocvisonnihniimicircrdcccpavccoucciionpiocacccimacnninc
§ 15 inc public conadcncc that is ccccniinl io inc continued ninoiioning or inc
§16 bankingandcreditsystemandsolmdextensionsofcredittoconsumers. The

11 .--. leQ°slat.n'e has.iiitllxer.determined that.there ia.a.need to ensure..that.debt
13 collectors exercise this responsibility with fairness, honesty, and due regard
19 for the debtor’s rights and that debt collectors must be prohibited ii:om
engaginginunfair ordeceptiveactsorpractices.l

20

31 3 SHEREEN NIKRAVAN (“Plaintiii”), by Plaintih’s attorneys, brings this
n action to challenge the actions of S'lERLlNG ACCOUNT SOLUI'IONS LLC
33 (“Defendant”) with regard to attempts by Defendant, debt collectors, to
14 unlawfully and abusively collect a debt allegedly owed by Plaintiff, and this
25 conduct caused PlaintiE damages.

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'ccl. civ'. code §§ 1788.1 (o)-(b)

 

 

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4. Picintin'tnaltcc niece oilegotionc on informnnon cna helicf, with the exception
~ of“those allegations that pertain to a plaintid; or to a plaintiffs counsel, which

PlaintiE alleges on personal knowledge

5. while many violations etc deceived below with opeciiicity, this complaint
allegeeviolationsofthestawtecitedinitsentirety.

6. Unless otherwise stated, all the conduct engaged in by Defendant took place
in California.

7. Any violations by Defendant were knowing, williiil, and intentional, and

Defendant did not maintain procedures reasonably adapted to avoid any such

violan'm . - . ...., ... . ._ . . . . .. ...,.. ,.....

Unless otherwise indicated, the use of Defendant’s name in this Coniplaint

includes all agents, employees, ofticers, members, directors, heirs, successors,

assigos, principals, u'ustees, sureties, subrogees, representativee,' and insurers

ot'Defendant’s named '

JURIBD!CTION AND VENUE

. Jmisdiction of this Court arises pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §

..~1.7 4 _.1692(k).. -. .. ........ ‘._,._. .. . -.-._.._....., .. .....-.- ..._...._

.' This action arises out of Defendant’s violations of the Fair Debt Collection

Practiees Act, 15 U. S. C. §§ 1692-l692(p) (“FDCP A”).
. Because Defendant conducts business within the State of California, personal
jurisdiction is established
12. Venue is proper pursuant to 28 U.S.C. § 1391.
I'ARTIES

13. Plainti&`is anatm'alpersonwho resides inthe State ofCalifcmia, from whom
a debt collector sought to collect a consumer debt which was due and owing
orallegedtobedueandowingii'omPlaintiH. Inaddition,Plaintiffisa
“consumer” as that term is defined by 15 U.S.C. § 1692a(3).

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21.

Plaimi&` is informed and believes, and thereon alleges, that Defendant is a
company operating from the State of New York.

PlaindB`isinfomedmdbeHwegmdthereonauegeathatDefendmLindie'
ordinary course of business, regularly, on behalf of themselves or others, `

engagein“debtcouection”andaredierefme“debtconectors”asdietermsam

defined by 15 U.S.C. § 1692a(6).

This case involves money, property or their equivalent, due or owing or

allegedtobedueorowingii'omanauiralpersonbyreasonofaconsumer

credittransaction. Assuch,thisactionarises outofa“debt”asthattermis

deEned by 15 th.C.'~l692a(5).' ~ ~ ' ~ - - "
FACTUAL ALLEGATI°NB

At all times relevant, Plaintiffis an individual residing within the State of

Califomia.

Plainti&` is informed and believes, and thereon alleges, that at all times

relevant, Defendant conducted business in the State of Califomia.

In or about 2009, Plaintiif allegedly incurred financial obligations to the

original.creditor,.HSBC Bank,.that.wer_e money, property,.or their equivalent,.

whichisdue orowing,orallegedtobedue or owing, ii'omanaturalpersonto

another person and were therefore “debt(s)” and a “consumer debt” as the ~

terms are deined by 15 U.S.C. § 1692a(6).

Subsequently, the alleged debt was allegedly assigned, placed, or otherwise
transferred, to Defendant for collection

From August 2013 through the present, Plaintiff has received multiple
telephone calls ii‘om Defendant attempting to collect Plainti&’s alleged debt.
These telephone calls were “communioations” as 15 U.S.C. § 1692a(2).

On or about August 12, 2013, Defeiidant left the following message on
Plairitid’s cellular telephone:

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This message'is solely intended for one ShereenNikravan. This'
is Mr. Marshall, Legal Courier LA County, contacting you
today in'regards to thepaperworkthatwas submimd and taxed
over to my office linder your name and social security number
[unintel_ligible]. As it stands now, l am scheduled to stop by
either the residence or place of employment to have you sign
foracertitiedNotice ofIntenttoAppearin Courtregardingthe
claim being placed against you. Before l do so, I wanted to'
provideyouwithdiiscalltomakesm'ethatyoudidreceivcthe
information properly concerning your claim [imintelligible].
We will be stopping by die above address, 414 East **** Stieet
or place of employment no later than tomorrow between the
hours ofS and 3. Any questions, comments orconcerns canbe
direcwd to the claimant’s oHice, they can he reached (877) 340-

9381. When doing so,‘please reference claim number C, as in'
“Charlie,” V, as in “Victor,” 393-234. Otherwise, Ms.
Nikravan, I will be out to see you tomorrow, please make sure
that you are available

. Following mceipt of the voicemail transcribed above, Plaintiff immediately

contacted Plainti&’s counsel at 8:02 p.m. on August 12, 2013, Duiing said
conversation, Plainti&` informed Plaintift’s counsel that PlaintiE was

extremely fi'i_gl_i_tened by Defendants message Plaint_i&`also_swdthat`__

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Plaintiif was crying and hysterical dueto the fear of being sued by Defendant.
Onlyatterdiscussingthemaua'forapproidmatelytenmimnesdidPlaindff
begintorelax.

 

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waswanscn‘bedbyPlaintiH’sco\msel,MatthcwM.Loker, wliilelisteoingtothe

Aug_nst 12, mlimmagediatwas lett on Plaintin°s cellular telephone Inaddition, Plaintifs

beenredactedinordertoensmePlaintiE'sprivacy.

 

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1 24. On or about August 13, 2013, Defendant len another similar message on
'Plainti&’s cellular telephone stating the following:

'l`his message is solely intended for one Shereen Nikravaii. This
isMr. Maishall,LegalCoin’ierLACounty,Iamgivingyoua
secondcallherefollowingupinregardstopaperworkthatwas
forwarded to ni'y office yesta'day' im`de'r your name and social "
securitynumber. Aswasstatedonapriormessage,ldohavea
requesttohaveyousignforacertitiedNoticeofIntentto
AppwinCom'tregardingtheclaimbeingtiledagainstyou.
My call today° is to make sure that you did receive information
properly regarding the claim. Also, since I have not heard any
diR`erently, I wanted to confirm the scheduled date for service,
We will be`stoppiog'liy'you‘rresidence here listed as 1340 **** "'
Drive, excused me, Su'eet, **** Street no later than tomorrow.
Ifyou have any questions, comments or concerns, they can be
directed to the claimant’s oflice, they can be reached at (877)
340-9381. When doing so, reference case number C, as in
“Charlie,” V, as in “Victor,” 393-234. Shereen Nikravan, ifI
do not hear any diH`erently, we will be out to see you tomorrow.
Make sure that you are available

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25. Shortly thereafter, Defendant len a nearly identical voicemail on Plaintiff’s

' parent shometelephone"` ` "' ` ` "`“' "` ` ` "" "` """' "

26. lmmediately after receipt of the August 13, 2013 voicemails ii'om Plaintid;
Piainafr reun am Piainan's comm some amber investigation in
order to determine who was responsible for leaving the messages

27. fn order to do so, Plainti&’s counsel called (877) 340-9381, the number
' provided by “Mr. Marshall,” and reached Defendant’s otlice.

28. Aner providing Defendant’s representative with Plainti&’s “case number,”
Plaintiff's counsel wastransferiedto Ryan Simmons,Defendant’s manager.

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tothe_AugustlB, 2013measagethatwasletionl’lainti€scel_lui_artelephone. lndditiot_i,
Plaintiff'scin'rent cmentaddreeshasbeeniedactedinotdertoensine?lainti&’spnvacy.

 

 

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29. While speaking with Mr. Simmons, Plainti&"s counsel determined that “Mr.
Marshall” was not a Lega.l~ Ceurier for LA Coimty but simply an employee of

30. BymisrepresentingthatMr.`MarshallwasemployedasaLegalCom'ierfer
LA county, mendant_vioiattd is u.s.c. § iésza which prohibits debt
collectorsti'omengaginginconductthenaniralconsequenceofwhichisto
harass, oppress andabuseaconaumerinconnectionwithdieallegeddebt.
This section is incorporated into the RFDCPA through Cal. Civ. Code §
1788.17; thus, Defendant has also violawd Cal. Civ. Code § 1788.17.

z ~‘I`hrough tliisconduct, Defendant violated 15 U;S.C. § 1692e by~using~iilse,
deceptive and misleading representations with regard to Mr. Marshall’s
employment status in connection with the collection of Plaintiii’s alleged
debt This section is incomer`ated into the RFDCPA through Ca.l. Civ. Code §
1788.17; thus, Defendant has also violated Cal. Civ. Code § 1788.17.

. Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by using
litlse representations and deceptive means to collect Plaintitl’s alleged debt.

. .._1.7 . 'I'hia.sectie.n.is incorporated_jnto.the..RFDCPA .thron§i..£al. Civ. Code.§. .…

13 1788.17; thus, Defendant has also violated Cal. Civ. Code § 1788.17.

19 33. Through this conduct, Defendant violated 15 U.S.C. § 1692f by using unfair
m and unconscionable means to collect Plaintiff’s alleged debt. This section is
31 incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
zz Defendant has also violated Cal. Civ. Code § 1788.17.

33 34. Through this conduct, Defendant violated Cal. Civ. Code § 1788.11 by

24 placing telephone calls without disclosure of the caller’s true identity.

15 35. Through this conduct, Defendant violated Cal. Civ. Code § 1788.13(a) by

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communicating with Plainti&` in a name other than Defendant’s employee
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36. Through this conduct, Defendant violated Cal. Civ. Code § l788.13(i) by
nilsely representing the true nature of Defendant’s business and the services
being rendered by Defendant `

37. Furthermore, during the August 13, 2013 telephonic communication between
Mr. Simmons and Plainti&’s counsel, Mr_. Simmons confirmed that no lawsuit
had been Eled nor did any document entitled “Notice of latent to Appear in
Court” exist.

38. BymisrepresentingthatPlaindffwaswbeservedwidialawsuitthathadnot
been liled, Defendant violated 15 .U.S.C. § 1692d which prohibits debt

-'~ ~~collectors ii'om engaging in‘ conduct the‘natural~ consequence of which is to -
harass, oppress and abuse a consumer in connection with the alleged debt
'l`hisseetionisincorporatedintotheRFDCPAthroughCal.Civ.Code§
1788.17; thus, Defendant has also violated Cal. Civ. Code § 1788.17.

39. Through this conduct, Defendant violated 15 U.S.C. § 1692e by using false,
deceptiveandmisleadingrepresentationswithregardtothestatusofan
alleged lawsuit filed against Plaintiff in connection with the collection of

.--.1.1 -.._..Plaintitt’.s.alleged_debt. This section is..incoq)orated.inio. the.RFDCRA -.._._,.._.

through coi. civ. code § 17ss.17; thuo, coronth nos aisovioiotod cat civ.

19 Code § 1788.17.

go 40.lhroughthisconduchefendantfalselyrepresenteddielegalstamsof

11 Plaintiff's alleged debt in violation of 15 U.S.C. § 1692e(2)(A). This section

zz is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,

33 Defendmt has also violated Cal. Civ. Code § 1788.17.

14 41. Through this conduct, Defendant violated 15 U.S.C. § 1692e(5) by threatening

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to take action that Defendant could not legally take in connection with the

collection of Plaintifl’s alleged debt. This section is incorporated into the
17 RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendant has also violated
13 . Cal. Civ. Code§ 1788.17.

 

 

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. Throogh this oonduoc, Doforrdom violated 15 U.s.c. § 1692o(10) by'usirrg
false representations and deceptive means to collect Plaintid’s alleged debt.
This section is incorporated into the RFDCPA through Cal.'Civ. Code §
1788.17; thus, Defendant has also violated Cal. Civ. Code § 1788.17.

. Through this conduct,_Defendant violated 15 U.S.C. § l692f by using _\_m£air
and unconscionable means to collect Plainti&’s alleged debt. This section is
incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
Defendant has also violated Cal. Civ. Code § 1788.17.

. Through this conduct, Defendant violated Cal. Civ. Code § 1788.13(i) by
falsely representing the true nature ofDefendant’s-businasaand the services -'
being rendered by Defendant

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o n . Through this conduct, Defendant violmd Cal. Civ. Code § 1788.13(\') by
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3 . .

§ 14 Plamtr&`. .
§ rs . Moroovor, by informing Ploinsa"aroc plaintiff wood bo served aro following
v 16 day in the event that PlaintiB` did not contact Defendant immediately created a

345 FMBR AV¢NUI. U||I'I'Dl

l ih\sesenscofurgenqt.withregandtoPlaintiEsalleged debt. -....... ....... .. ._.
. 'I'hrough this conduct, _Defendant created a false sense of urgency and
threatened to file a lawsuit without the intention of bringing legal action
against Plaintiff in violation of 15 U.S.C. § l692d which prohibited Defenth
&omengaginginanyconductthenat\ualconsequenceofwhichistoharass,
oppress, and abuse PlaintiH`s. This section is incorporated into the Rosenthal
Act through Cal. Civ. Code § 1788.17. Thus, Defendant has violated Cal.
Civ. Code § 1788.17.

. Through this conduct, Defendant violated 15 U.S.C. § 1692e by using false,
deceptive and misleading represewons by creating a false sense of urgency
with which PlaintiEs were requimd to aet. This section is incorporated into the
Rosenthal Aet through _Cal. Civ. Code § 1788.17. Thus, Defendant has

 

 

 

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. through this oooduot, attendant violated 15 U.s.c. § loszo(zxA> hy»alooly

. Through this conduct, Defendant violated 15 U.S.C. § lGQZe(lO) by using

through-col rciv. code-§ 1738.17.- rhoo, newman violatod-col. civ.

. Finally, Defendant’s representative Mr. Marshall, violated 15 U.S.C. §

2. .'['lunug\l.this conduct, Defendantyiolated.l$ U.S.C.,§. 1692b(2).by slatingtbet.

violated col, civ. code § 1788.17.

representingthelegalstatusofl’laintiffs’ alleged debtasonethatwasthe
ouhjootofnofoooom'oiowoatrhiorooaonioinoorporotodimothonoooothol
Aot through col. civ. code § 1783.17. rhuo, boreman hot violated col.
Civ. Code § 1788.17.

lhlserepmsenwtionsanddeceptivemeansinattemptingtocohectdieaueged
debt li'om Plaintiffs. This section is incorporated into the Rosenthal Act

Code § 1788.17.

1692b(l) by failing to properly identify himself in connection withthe
collection of Plaintifl`s alleged debt when Mr. Marshall contacted Plaintifl"’s
parents. This section is incorporated into the Rosenthal Act through Cal. Civ.
Code § 1788.17. Thus, Defendant has violated Cal. Civ. Code § 1788.17.

Plaintid` owed an alleged debt when leaving the August 13, 2013 voicemail
with Plaintift"s parents. This section is incorporated into the Rosenthal Act
through Cal. Civ. Code § 1788.17. Thus, Defendant has violated Cal. Civ.
Code § 1788.17.

Through this conduct, Defendant violated 15 U.S.C. § 1692c(b) by
communicating with Plaimift’s parents in connection with die collection of
Plainti&"s alleged debt without the prior consent ofPlaintift`. This section is
incorporated into the Rosenthal Act through Cal. Civ. Code § 1788.17. Thus,
Defendanthas violated Cal. Civ. Code § 1788.17.

 

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54. through this oohduot, Defendant violated col civ. code § lvss.lz(`h) by

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z communimting information regarding Plainti&’s alleged debt to PlaintiE’s
s pm
4 55. As a direct result of Defendant’s unfair debt collection practices, Plaintiff
_' 5 suEered, and has continued to suffer, severe emotional distress. ._
6 56. Tln'ough this conduct, Defendant took actions against PlaintiE concerning the
7 allegeddebtinviolationofthestetutediscussedabove. Consequently,
s Defendant hoe violated ls U.s.c. §§ 1692h(1); 1692h(2); 1692o(h); 1692d;
o 1692o; 1692e(2)(A); loaze(sy, 1692e(10); and, 1692£ Itt addition Defendant
10' ~ -~-also violated Cal. Civ. ~Code §§ ‘ 1~‘788:1'1(b);~ l788.12(b);~ l788.~13(i); - ~ --
11 1788.136);811¢1, 1788.17.
o n Causss or Ac'rlou Clrsmen sr PLAm'rrss
§ 13 CoUN'rI n
§ 14 VloLA'l‘ION 03 TBE FA!R DEBT CCLLECTIGN mCTlCEB AC'I'
§ rs 15 U.s.c. §§ 1692-1692(1») (m)cra)
§ 16 [AgainstAll Defendanis]
7.,_P1aintif£_incomorates by refcnmse all..of .the abnlie.ths of this_....,,..-.~..
18 Complaint as though liilly stated herein

58. The foregoing acts and omissions constitute numerous and multiple violations
of the FDCPA.

59. As a result of each and every violation of the FDCPA, Plaintiil` is entitled to
any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
for a knowing or willful violation in the amount up to $1,000.00 pursuant to
15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s kcs and costs pursuant
to 15 U.S.C. § 1692k(a)(3) from each Defendant individually.

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vloLATION o¥ THE ROSENTHAL FAIR DEBT COLLECTI°N PRACTICEB

Ac'r
Cal. Civ. Code §§ 1188-1788.32 (RFDCPA)
[Against All Defendants]

.Plainti&`incorporatesbyreferencealioftheaboveparagraphsofthis

Complaint as though fully stated herein

. The foregoing acts and omissions constitute numerous and multiple violations

of the RFDCPA.

. As a result of each and every'violation of the RFDCPA,'PlaintiH`is entitled to~ ~

any actual damages pm'suant to Cal. Civ. Code § l788.30(a); statutory
damages for a knowing or willful violation in the amount up to $1,000.00
pursuant to Cal. Civ. Code § 1788.30(1)); and reasonable attorney’s fees and
oooa potomac to col. civ. code § 1788.30(¢) from oooh Defendant
individually.

mm F°R RELIEF

1 ‘ ' .= l.'- REI|'ORE, P.lainti££pmys.that judgment be.entered againstDefendant.for;_

° anawardofactualdamages,inanamounttobedeterminedatuial,
pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
individually;

° anawardofact\mldamages,inanamounttobedeterminedattrial,
pursuant to 15 U.S.C. § l692k(a)(1), against each named Defendant
individually;

° an award of statutory damages of 31,000.00, pursuant to Cal. Civ. Code
§ 1788.30(b), against each named Defendant individually;

° an award of statutory damages of 31,000.00, pursuant to 15 U.S.C. §
1692k(a)(2)(A), against each named Defendant individually;

 

 

 

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° an award of costs of litigation and reasonable attorney’-s-fees, pursuant to

car civ. code § 1788.30(¢), against oaoh named nofoodaoc. `

individually.
° an award of costs of litigation and reasonable attorney’s-fees, pursuant to

15 U.S.C. § 1692k(a)(3), against each named Defendant individually;

. and, y
' ~ ° ~ any and all other relief that this _Court. deems just andproper. -

TRIAL BY JURY

63, ‘Pursuant to the seventh amendment to the Constitution of the United Statea of _

- _America, Plaintiff is entitled to, and demands,l a trial by jury_.v

D_ated: August 20, 2013 Respectl"ully submitted,

  

 

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